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DRAFT KYIBRS REPORT

COMMONWEALTH OF KENTUCKY
AGENCY ORINAME 0050200 CAVE CITY POLICE DEPARTMENT JNCIDENT NUMBER KY CC-19-074 a
INCIDENT DATE/TIME EXACT /ESTIMATE | REPORT DATE} RECEIVED | DISPATCHED | _ ARRIVED —
$/20/2019 07:30 TO 6/20/2019 08:00 ESTIMATE 6/20/2019 18:40 18:40 Se heres
> REPORTED BY: ERIC, MEADOR See
E] LICENSED STATE: ] _LICENSEAD NUMBER:
é ADDRESS: 807 MAMMOTH CAVE RD
glcny. CAVE City [STATE. KY | ap cove: 42127 [PHONE NUMBER:
Zz 870 MAMMOTH CAVE RD Jeecror no:
4] EXACT
Location [ADDRESS 870 MAMMOTH CAVE RD =
OF _ ony CAVE CITY KY |ziP cope: 42
- COUNTY BARREN JtatitubE | 37 DEG | 8.088 MIN UDE| 85 DEG | 58.528 MIN
TYPE WEAPON/R@RCE INVOLVES CRIMINAL ACTIVITY/GANG IFO

SEQUENCE® 1 OF 1 | LOCATIONTYPE HOTEL, MOTEL, ETC.
OFFENSE  TBUT OR DISP ALL OTHERS U/$500
OPOSE gs915 [ase 0 [oSe 514030 [aass AloecReE Mm |couns 4

ke

‘BIAS METHOD NUMBER
sion. NONE (NO BIAS) ENTRY: premises: 9
“SCHOOL NAME: SCHOOL TYPE:

| OFFENDER SUSPECTED NOT APPLICABLE
‘SEQUENCE # OF | LOCATION TYPE kL ACTIVITY/GANG IFO
OFFENSE
AScr KRS :
a Joove: aass; [DEGREE
‘BIAS METHOD NUMBER
ENTRY: PREMISES:
N i CAMPUS?
‘SEQUENCE # L OF | LOCATION TYPE: CE INVOLVED CRIMINAL ACTIVITY/GANG IFO
ls [se CLASS
= CAMPUS?
- : VALUE _ | RECVRD VALUE REG. COND. DT RECOVERED
yD, BLUE Ri $380.00]
ae DESCRIPTION
"FLAT SCREEN LED
" SERIAL NUMBER
NA
Se. Sa MODEL OWNER
oo Victim 4
a 7 OF LOSS VALUE RECVRD VALUE. REC. COND, DT RECOVERED
ee ——— -
= — f — _ ——————
_ ==
ae
Produced Pursuant to USA-002190

Protective Order
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DRAFT i ae
PHONE
VICTIM SEQUENCE
1 of 1 |JECONO LODGE
LICENSEAD STATE: | LICENSE/D NUMBER:
Rares a . BUS

Lees, | ADDRESS: 870 MAMMOTH CAVE RD | victim TYPE:

CITY: CAVE CITY | STATE: KY | ZIP CODE: 42127 | KY RESIDENT:

DATE OF BIRTH SSN HEIGHT | WEIGHT EVE COLOR HAIR COLOR
< GENDER RAGE ETHNIC ORIGIN PEACE OFFICER?
4 []ves
| ner [OPPENDER] Victim RELATIONSHIP TO OFFENDER: VICTIMWAS | NBR OFFENDER viCTIM RELATIONSHIP TO OFFENDER: VICTIM BR INJURY TYPE
=
Gf 1 1 JOTHERWISE KNOWN
a

VICTIM OF OFFENSE(S) AGG ASSAULT/ HOMICIDE CIRC BLE HOMICIDE CIRC
23915
LEQKA ASSIGNMENT OKA ACTIVITY

SUSPECT SEQ. #] NAME: CONLEY, BRYAN ARRESTED? | ARREST DATE

4 of «1 | ALIAS: (_]yes
<] LICENSE/ID STATE: LICENSE/D NUMBER:
‘DD PHONE: KY RESIDENT:
HEIGHT IGHT | EYE COLOR HAIR COLOR
WHITE
TEESEQ.#} MULTIPLE ARREST IND. RELATED CITATION NUMBERS

jf 4 8
__ ARRESTEE ARMED WITH 5 7
7 6 9

a ARRESTED? | ARREST DATE
(Yes

DATE OF BIRTH: PHONE: KY RESIDENT:

ZIP CODE:
| ETHNICORIGIN | HEIGHT | WEIGHT | EYECOLOR HAIR COLOR
rye | RELATED CITATION NUMBERS
Lh ila 7
ass) 8 ;
a
PHONE
or; 1
i
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Protective Order
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KYIBRS REPORT: NARRATIVE

DRAFT COMMONWEALTH OF KENTUCKY
SYNOPSIS:
Responded to the Econo Lodge in reference to a theft complaint.

INVESTIGATION:
June 20, 2019

On this date | responded to the Econo Lodge located at 870 Mammoth Cave Roa J in reference to a theft of

a television.
he rented out a

Upon arrival, | made contact with the manager on duty, Eric Mea
room to a Bryan Conley for the listed dates of, 6/15-6/18, then

checked out of his room around 0730-0800 hours on 6/20. Meg
107, where Conley had been staying, he noticed the televi
that to remove the television from the wall you would nee:
anchors all the televisions and it was a square drive bit.

Jieador stated
screw that

USA-002192

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Protective Order
